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SOUTHERN DISTRICT OF NEW YORK ‘ ew VAN PS ! a
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LOCKHEED MARTIN CORPORATION, : wean sme teense 3S

 

Plaintiff,
ORDER

-against-
15 Civ. 3636 (GBD)
GLENCORE, LTD. individually and d/b/a
CLARENDON, LTD.,

Defendant.

GEORGE B. DANIELS, United States District Judge:
The parties’ proposed briefing schedule is GRANTED and is as follows:
e Plaintiff shall file a motion for summary judgment on or before January 19, 2021.
e Defendant shall file an opposition to Plaintiff's motion for summary judgment on
or before February 23, 2021.
e Plaintiff shall file a reply in support of its motion for summary judgment on or
before March 16, 2021.
The oral argument is adjourned from March 23, 2021 to at 10:30 a.m. is hereby adjourned

to April 20, 2021 at 10:30 a.m.

Dated: New York, New York SO ORDERED.

January 11, 2021
Genege 4K, Darard

B. DANIELS
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